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                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

IN RE:                              )
                                    )
      DANNY K. ZACHARY, JR.,        )               Case No. 08-10960-JKC-7
                                    )
                  Debtor.           )
____________________________________)
                                    )
MAINSOURCE BANK,                    )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )           Adversary Proceeding No. 08-50658
                                    )
DANNY K. ZACHARY, JR.,              )
                                    )
                  Defendant.        )

   CORPORATE OWNERSHIP STATEMENT PURSUANT TO RULE 7007.1

         Pursuant to FED.R.BANKR.P. 7007.1 and to enable the Judges to evaluate possible

disqualification or recusal, the undersigned counsel for the Plaintiff MainSource Bank in

the above-captioned adversary proceeding certifies that there are no entities to report

under FED.R.BANKR.P. 7007.1.

                                            HARRISON & MOBERLY, LLP



                                            /s/ David J. Theising__________________
                                            David J. Theising
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